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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

STEPHEN PHILLIPS and MARY
TOURVILLE-PHILLIPS, On behalf of                      Case No.: 19-cv-02711-WMW-LIB
themselves and all others similarly situated,

                  Plaintiffs,
                                                      [PROPOSED] STAY ORDER
v.
CALIBER HOME LOANS,
                  Defendant.


         IT IS HEREBY ORDERED AND ADJUDGED:
         The Court hereby determines that in the interest of conserving the parties’
resources and promoting judicial economy, the parties’ Unopposed Joint Motion to
Continue the Stay of the Proceedings Pending Mediation (Dkt. No. 65) is GRANTED,
and this action is hereby STAYED until Friday, April 9, 2021. All deadlines are
VACATED. The parties shall file a Status Report with this Court on or before Friday,
April 9, 2021, addressing the status of the mediation and whether a scheduling
conference should be set in anticipation of continued litigation. Should the parties come
to a resolution during the stay, they shall notify the court immediately.
         IT IS SO ORDERED.



Dated: _______________, 2021.              By:
                                                 United States District Judge




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